                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                            Docket No. 3:11-CR-373-FDW

UNITED STATES OF AMERICA,           )
                                    )
                        Plaintiff,  )
                                    )
vs.                                 )                          ORDER
                                    )
JOSE CALDERON-SILVER (6) and        )
MURAD AYYAD (11)                    )
                                    )
                        Defendants. )
__________________________________ )

       This Matter is before the court on Government’s unopposed Motion to Dismiss the Bill

of Indictment (Doc. No. 371).   For Good Cause shown in the United States= Motion, the Court

hereby GRANTS the dismissal of the Bill of Indictment in Docket No. 3:11-CR-373 without

prejudice as to Defendants Calderon-Silver and Ayyad only. The Clerk is directed to certify

copies of this Order to the U.S. Probation Office and the United States Attorney's Office.

       IT IS SO ORDERED.



                                              Signed: November 18, 2013




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